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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION                                  FILED
                                                                                 JUN 1 S 2017
                                                                            Clerk, U S District Court
                                                                              District Of Montana
 UNITED STATES OF AMERICA,                                                           Billings
                                                 CR 16-107-BLG-SPW-7
                      Plaintiff,

 vs.                                               ORDER

 CHRISTINA KAMRAN-KOHNJANI,

                      Defendant.

       Defendant has filed an Unopposed Motion for Examination (Doc. 236) to

determine mental competency. Defendant's motion is brought pursuant to 18

U.S.C. § 4241(a) and not opposed by the United States.

       After reviewing the motion, the Court finds reasonable cause to believe the

Defendant may presently be suffering from a mental disease or defect rendering

her mentally incompetent to the extent that she is unable to understand the nature

and consequences of the proceedings against her or to assist properly in her

defense.

       Accordingly, IT IS HEREBY ORDERED:

       1. The Motion to Determine Mental Competency (Doc. 236) is GRANTED.

           Christina Kamran-Kohnjani shall undergo an evaluation to determine her




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         competency to proceed in this matter in accordance with 18 U.S.C. §

         4247(b)-(c) at a federal facility designated by the Bureau of Prisons.

      2. The United States Marshals Service shall request that the Bureau of

         Prisons designate a federal facility where Defendant shall be evaluated.

         The United States Marshals Service shall notify the Court when it

         receives notice of the facility that has been designated.

      3. All time from the date of this Order until the date of the Court's

         determination as to Defendant's competency is excludable under the

         Speedy Trial Act. 18 U.S.C. § 316l(h)(l)(A).

      IT IS FURTHER ORDERED that the Sentencing Hearing presently set for

Wednesday, August 30, 2017 at 9:30 a.m. is VACATED until further Order of

the Court.

      The Clerk of Court shall immediately notify the parties and the United States

Marshals Service of the entry of this Order.
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      DATED this     /9 dayofJune,201~7.
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                                               SUS AN P. WATTERS
                                               United States District Judge




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